Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 1 of 23 PageID# 15713




                                            EXHIBIT C

                                           COPY COSTS


    Description              Date                  Invoice       Invoice        Taxable
                                                   No.           Amount         Amount
    Trial Exhibits Binders   01/31/2023            123638                       2,316.75
    Deposition Designation   01/06/2023            130849                       42.23
    Binders
    Deposition Designation   01/06/2023            130850                       151.30
    Binders
    Deposition Designation   01/06/2023            130851                       95.38
    Binders
    Deposition Designation   01/09/2023            130868                       102.42
    Binders
    Deposition Designation   01/09/2023            130869                       2,058.82
    Binders
    Deposition Designation   01/11/2023            130924                       706.15
    Binders
    Deposition Designation   01/11/2023            130935                       2,353.22
    Binders
    Trial Exhibits Binders   01/13/2023            131018                       7,903.57
    Trial Exhibits Binders   01/16/2023            131019                       350.00
    Trial Exhibits Binders   01/18/2023            131093                       2,013.12
    TOTAL                                                                       $18,092.96

                                             ESI COSTS


    Date       Cost          Amount       Status      Bill Num    Bill Date   Narrative
               Code
    11/22/2019 DP3300         $100.00 Billed          2195044     12/10/2019 Prepare Documents for
                                                                             Production (1-50 GB)
    1/8/2020      DP3000     $3,064.00 Billed         2218916     2/29/2020 Convert Documents to
                                                                             Mixed Image/Native
                                                                             Format (1-50 GB)
    1/10/2020     DP3300      $215.40 Billed          2218916     2/29/2020 Prepare Documents for
                                                                             Production (1-50 GB)
    1/23/2020     DP3300      $100.00 Billed          2218916     2/29/2020 Prepare Documents for
                                                                             Production (1-50 GB)
    1/27/2020     DP3300      $289.80 Billed          2218916     2/29/2020 Prepare Documents for
                                                                             Production (1-50 GB)
    1/31/2020     DP3300      $100.00 Billed          2218916     2/29/2020 Prepare Documents for
                                                                             Production (1-50 GB)
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 2 of 23 PageID# 15714




    Date        Cost     Amount       Status   Bill Num   Bill Date   Narrative
                Code
    1/31/2020   DP3000    $1,758.80 Billed     2218916    2/29/2020Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    1/31/2020   DP3000     $400.00 Billed      2218916 2/29/2020 Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    2/6/2020    DP3000     $400.00 Billed      2225216 3/20/2020 Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    2/7/2020    DP3300    $1,473.80 Billed     2225216 3/20/2020 Prepare Documents for
                                                                   Production (1-50 GB)
    2/25/2020   AF1500    $3,290.40 Billed     2225216 3/20/2020 Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    2/27/2020   AF1500    $1,856.60 Billed     2225216 3/20/2020 Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    2/28/2020   AF1500     $402.60 Billed      2225216 3/20/2020 Prepare Documents for
                                                                   Production (1-50 GB)
    3/6/2020    AF1500     $200.00 Billed      2234849 4/20/2020 Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    3/10/2020   AF1500     $669.28 Billed      2234849 4/20/2020 Prepare Documents for
                                                                   Production (1-50 GB)
    5/20/2020   AF1500      $25.00 Billed      2259267 6/19/2020 Prepare Documents for
                                                                   Production (1-50 GB)
    11/30/2020 AF1500       $25.00 Billed      30091667 12/29/2020 Prepare Documents for
                                                                   Production (1-50 GB)
    12/18/2020 AF1500      $200.00 Billed      30103701 1/26/2021 Convert Documents to
                                                                   Mixed Image/Native
                                                                   Format (1-50 GB)
    12/18/2020 AF1500       $25.00 Billed      30103701 1/26/2021 Prepare Documents for
                                                                   Production (1-50 GB)
    12/23/2020 AF1500       $25.00 Billed      30103701 1/26/2021 Prepare Documents for
                                                                   Production (1-50 GB)
                Totals   $14,620.68


    GRAND TOTAL                                                  $32,713.64
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 3 of 23 PageID# 15715
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Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 5 of 23 PageID# 15717
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 6 of 23 PageID# 15718
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 7 of 23 PageID# 15719
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 8 of 23 PageID# 15720
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 9 of 23 PageID# 15721
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 10 of 23 PageID# 15722
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 11 of 23 PageID# 15723
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 12 of 23 PageID# 15724
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 13 of 23 PageID# 15725
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 14 of 23 PageID# 15726

    Invoice Date 02/29/20
    Invoice Number 2218924
    File No. 253794.E02033
     Claim/Client File No. LD201800340
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    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

    PER UNIT FEES:


    Date        Name                             Unit        # of Units    Cost        Amount


    01/08/20    Convert Documents to Mixed       GB             7.6600    200.00       1,532.00
                Image/Native Format (1-50 GB)
    01/31/20    Convert Documents to Mixed       GB             4.3970    200.00         879.40
                Image/Native Format (1-50 GB)
    01/31/20    Convert Documents to Mixed       GB             1.0000    200.00         200.00
                Image/Native Format (1-50 GB)
    01/22/20    Enable Native Review for Docs     Month         3.5370    100.00         353.70
                after Early Case Assessment (1-50
                GB)
    01/13/20    Import Other Party Productions   GB             1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    01/20/20    Import Other Party Productions   GB             1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    01/20/20    Import Other Party Productions   GB             1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    01/27/20    Import Other Party Productions   GB             3.2100     25.00          80.25
                Into Review Database (1-50 GB)
    01/28/20    Import Other Party Productions   GB             1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    01/30/20    Import Other Party Productions   GB             3.1530     25.00          78.83
                Into Review Database (1-50 GB)
    01/22/20    Import Scanned Documents Into    GB             1.0000     25.00          25.00
                Review Database (1-50 GB)
    01/09/20    Import Scanned Documents Into    GB             1.0000     25.00          25.00
                Review Database (1-50 GB)
    01/23/20    Monthly Data Hosting and         GB/Mo         67.6190     10.00         676.19
                Maintenance
    01/24/20    Monthly Relativity Database Users User/Mo      15.0000     75.00       1,125.00
                - Alan.Wingfield@troutman.com;
                anthony.lobb.agency@troutman.co
                m;
                Demetrica.Olabintan.Agency@trou
                tman.com;
                Diana.Wilson.Agency@troutman.c
                om;
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 15 of 23 PageID# 15727

    Invoice Date 02/29/20
    Invoice Number 2218924
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 26




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

                Eric.Jones.Agency@troutman.com
                ;
                Kathleen.Knudsen@troutman.com;
                massie.cooper@troutman.com;
                mblank@redgravellp.com;
                michael.lacy@troutman.com;
                MMcCarroll@redgravellp.com;
                nicole.bunyasaranand.agency@tro
                utman.com;
                Roland.Knaut.Agency@troutman.c
                om; toren.elsen@nscorp.com;
                trey.harrell.agency@troutman.com
                ;
                vincent.mosley.agency@troutman.
                com
    01/27/20    Prepare Documents for Production GB              2.8980    25.00          72.45
                (1-50 GB)
    01/31/20    Prepare Documents for Production GB              1.0000    25.00          25.00
                (1-50 GB)
    01/10/20    Prepare Documents for Production GB              2.1540    25.00          53.85
                (1-50 GB)
    01/23/20    Prepare Documents for Production GB              1.0000    25.00          25.00
                (1-50 GB)
    01/08/20    Process collected data and import GB             1.0000   100.00         100.00
                into review database (No Filtering)
                (1-50 GB)
    01/31/20    Process collected data and import GB             1.0000   100.00         100.00
                into review database (No Filtering)
                (1-50 GB)
    01/30/20    Process collected data and import GB             8.3700   100.00         837.00
                into review database (No Filtering)
                (1-50 GB)



                                                Total Per Unit Fees                   $6,288.67
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    Invoice Date 03/20/20
    Invoice Number 2225565
    File No. 253794.E02033
     Claim/Client File No. LD201800340
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    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

    PER UNIT FEES:


    Date        Name                               Unit      # of Units    Cost        Amount


    02/06/20    Convert Documents to Mixed         GB           1.0000    200.00         200.00
                Image/Native Format (1-50 GB)
    02/11/20    Enable Native Review for Docs      GB          58.3460    100.00       5,834.60
                after Early Case Assessment (51-
                250 GB)
    02/24/20    Monthly Data Hosting and           Month      189.5500     10.00       1,895.50
                Maintenance
    02/25/20    Import Other Party Productions     Month        1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/25/20    Import Other Party Productions     Month        1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/25/20    Convert Documents to Mixed         Month       16.4520    200.00       3,290.40
                Image/Native Format (1-50 GB)
    02/27/20    Convert Documents to Mixed         Month        9.2830    200.00       1,856.60
                Image/Native Format (1-50 GB)
    02/28/20    Prepare Documents for Production Month         16.1040     25.00         402.60
                (1-50 GB)
    02/28/20    Import Other Party Productions     Month        4.5700     25.00         114.25
                Into Review Database (1-50 GB)
    02/05/20    Import Other Party Productions     GB           1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/12/20    Import Other Party Productions     GB          21.0000     25.00         525.00
                Into Review Database (1-50 GB)
    02/12/20    Import Other Party Productions     GB           1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/13/20    Import Other Party Productions     GB           1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/13/20    Import Other Party Productions     GB           1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/14/20    Import Other Party Productions     GB           1.2800     25.00          32.00
                Into Review Database (1-50 GB)
    02/14/20    Import Other Party Productions     GB           1.5530     25.00          38.83
                Into Review Database (1-50 GB)
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 17 of 23 PageID# 15729

    Invoice Date 03/20/20
    Invoice Number 2225565
    File No. 253794.E02033
     Claim/Client File No. LD201800340
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    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

    02/17/20    Import Other Party Productions   GB             3.2120     25.00          80.30
                Into Review Database (1-50 GB)
    02/03/20    Import Other Party Productions   GB             1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/03/20    Import Other Party Productions   GB             1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    02/04/20    Import Scanned Documents Into    GB             1.2000     25.00          30.00
                Review Database (1-50 GB)
    02/12/20    Import Scanned Documents Into    GB             1.0000     25.00          25.00
                Review Database (1-50 GB)
    02/13/20    Import Scanned Documents Into    GB             1.0000     25.00          25.00
                Review Database (1-50 GB)
    02/25/20    Monthly Relativity Database Users User/Mo      32.0000     75.00       2,400.00
                -
                adam.kaddoura.agency@troutman
                .com;
                Alan.Wingfield@troutman.com;
                alfred.raucci@skadden.com;
                Andrew.Matteson.Agency@troutm
                an.com;
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                Barclay.Freeman@troutman.com;
                baumann.m@ei.com;
                chizoba.ekemam.agency@troutma
                n.com;
                clifford.rathkopf.agency@troutman.
                com;
                Diana.Wilson.Agency@troutman.c
                om;
                Eric.Jones.Agency@troutman.com
                ; garrett.urban@nscorp.com;
                godek.p@ei.com;
                John.hennigan1@gmail.com;
                John.Thornburgh@skadden.com;
                jojo.trotter.agency@troutman.com;
                joseph.hale.Agency@troutman.co
                m;
                Joshua.Cox.Agency@troutman.co
                m;
                Kamaria.womack.agency@troutma
                n.com;
                Kathleen.Knudsen@troutman.com;
                massie.cooper@troutman.com;
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 18 of 23 PageID# 15730

    Invoice Date 03/20/20
    Invoice Number 2225565
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 36




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

                michael.hohmann@skadden.com;
                michael.lacy@troutman.com;
                monique.robinson.agency@troutm
                an.com;
                nicole.bunyasaranand.agency@tro
                utman.com;
                Roland.Knaut.Agency@troutman.c
                om;
                Shannon.Slaton.Agency@troutma
                n.com;
                Thomas.Gentry@skadden.com;
                toren.elsen@nscorp.com;
                tulia.larkin.agency@troutman.com;
                vincent.mosley.agency@troutman.
                com; wright.m@ei.com
    02/07/20    Prepare Documents for Production GB                14.7380     25.00      368.45
                (1-50 GB)
    02/04/20    Process collected data and import GB                 1.0400   100.00      104.00
                into review database (No Filtering)
                (1-50 GB)



                                                    Total Per Unit Fees                $17,422.53




    EXPENSES:


    02/26/20 Copy Charges VENDOR: Ricoh USA, Inc. INVOICE#:                               375.83
             ATL20020046 DATE: 2/26/2020 Scanning of collected
             paper files



                                                        Total Expenses                   $375.83
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 19 of 23 PageID# 15731

    Invoice Date 04/20/20
    Invoice Number 2236468
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 13




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

    PER UNIT FEES:


    Date        Name                             Unit        # of Units    Cost        Amount


    03/02/20    Import Other Party Productions   Month          1.5600     25.00          39.00
                Into Review Database (1-50 GB)
    03/05/20    Enable Native Review for Docs     Month         1.0000    100.00         100.00
                after Early Case Assessment (1-50
                GB)
    03/06/20    Convert Documents to Mixed       Month          1.0000    200.00         200.00
                Image/Native Format (1-50 GB)
    03/09/20    Import Other Party Productions   Month          1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    03/10/20    Prepare Documents for Production Month         26.7710     25.00         669.28
                (1-50 GB)
    03/10/20    Import Other Party Productions   Month          1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    03/22/20    Monthly Data Hosting and         Month        257.2950      8.50       2,187.01
                Maintenance
    03/24/20    Import Other Party Productions   Month          1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    03/24/20    Import Other Party Productions   Month          1.0000     25.00          25.00
                Into Review Database (1-50 GB)
    03/24/20    Monthly Relativity Database Users User/Mo      29.0000     75.00       2,175.00
                -
                adam.kaddoura.agency@troutman
                .com;
                Alan.Wingfield@troutman.com;
                alfred.raucci@skadden.com;
                Andrew.Matteson.Agency@troutm
                an.com;
                anthony.lobb.agency@troutman.co
                m;
                Barclay.Freeman@troutman.com;
                baumann.m@ei.com;
                chizoba.ekemam.agency@troutma
                n.com;
                clifford.rathkopf.agency@troutman.
                com;
                Diana.Wilson.Agency@troutman.c
                om; garrett.urban@nscorp.com;
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 20 of 23 PageID# 15732

    Invoice Date 04/20/20
    Invoice Number 2236468
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 14




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)

                godek.p@ei.com;
                jana.stone@troutman.com;
                John.hennigan1@gmail.com;
                John.Thornburgh@skadden.com;
                jojo.trotter.agency@troutman.com;
                Joshua.Cox.Agency@troutman.co
                m;
                Kamaria.womack.agency@troutma
                n.com;
                Kathleen.Knudsen@troutman.com;
                massie.cooper@troutman.com;
                michael.hohmann@skadden.com;
                michael.lacy@troutman.com;
                monique.robinson.agency@troutm
                an.com;
                Roland.Knaut.Agency@troutman.c
                om;
                Shannon.Slaton.Agency@troutma
                n.com;
                Thomas.Gentry@skadden.com;
                toren.elsen@nscorp.com;
                tulia.larkin.agency@troutman.com;
                wright.m@ei.com



                                                Total Per Unit Fees                   $5,470.29
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 21 of 23 PageID# 15733

    Invoice Date 06/09/20
    Invoice Number 2255085
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 6




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)



    PER UNIT FEES:


    Date        Name                             Unit        # of Units    Cost        Amount


    05/20/20    Prepare Documents for Production Month           1.0000    25.00          25.00
                (1-50 GB)
    05/25/20    Monthly Data Hosting and         Month        257.6470      8.50       2,190.00
                Maintenance
    05/27/20    Monthly Relativity Database Users User/Mo      13.0000     75.00         975.00
                -
                adam.kaddoura.agency@troutman
                .com; baumann.m@ei.com;
                chizoba.ekemam.agency@troutma
                n.com; jana.stone@troutman.com;
                John.hennigan1@gmail.com;
                John.Thornburgh@skadden.com;
                Kathleen.Knudsen@troutman.com;
                massie.cooper@troutman.com;
                michael.lacy@troutman.com;
                MMcCarroll@redgravellp.com;
                Shannon.Slaton.Agency@troutma
                n.com;
                Thomas.Gentry@skadden.com;
                wright.m@ei.com



                                                Total Per Unit Fees                   $3,190.00
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 22 of 23 PageID# 15734

    Invoice Date 12/07/20
    Invoice Number 30079681
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 5




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)



    PER UNIT FEES:


    Date        Name                              Unit       # of Units    Cost        Amount


    11/16/20    Import Scanned Documents Into     Month          1.0000    25.00          25.00
                Review Database (1-50 GB)
    11/16/20    Process Collected Data/Import into Month       11.8000     20.00         236.00
                Database for Early Case
                Assessment (1-50 GB)
    11/17/20    Enable Native Review for Docs     Month          1.1120   100.00         111.20
                after Early Case Assessment (1-50
                GB)
    11/21/20    Import Scanned Documents Into     Month          1.0000    25.00          25.00
                Review Database (1-50 GB)
    11/22/20    Monthly Data Hosting and          Month       259.0880      8.50       2,202.25
                Maintenance
    11/25/20    Process Collected Data/Import into Month       16.4150     20.00         328.30
                Database for Early Case
                Assessment (1-50 GB)
    11/30/20    Prepare Documents for Production Month           1.0000    25.00          25.00
                (1-50 GB)
    11/24/20    Monthly Relativity Database Users User/Mo      11.0000     75.00         825.00
                - Alan.Wingfield@troutman.com;
                jana.stone@troutman.com;
                John.Thornburgh@skadden.com;
                Kathleen.Knudsen@troutman.com;
                massie.cooper@troutman.com;
                Michael.Clegg@skadden.com;
                michael.hohmann@skadden.com;
                michael.lacy@troutman.com;
                MMcCarroll@redgravellp.com;
                Thomas.Gentry@skadden.com;
                wright.m@ei.com



                                                Total Per Unit Fees                   $3,777.75
Case 2:18-cv-00530-MSD-RJK Document 650-4 Filed 05/03/23 Page 23 of 23 PageID# 15735

    Invoice Date 01/26/21
    Invoice Number 30103803
    File No. 253794.E02033
     Claim/Client File No. LD201800340
    Page 5




    Norfolk Southern Railway Company
    eMerge – LD201800340 - CSXT Litigation against Norfolk & Portsmouth Belt Line (NPBL) and NSR
    (M&R Issues)



    PER UNIT FEES:


    Date        Name                              Unit        # of Units    Cost       Amount


    12/03/20    Import Scanned Documents Into     Month           1.0000    25.00         25.00
                Review Database (1-50 GB)
    12/08/20    Import Other Party Productions    Month           1.0000    25.00         25.00
                Into Review Database (1-50 GB)
    12/11/20    Import Other Party Productions    Month           1.0000    25.00         25.00
                Into Review Database (1-50 GB)
    12/18/20    Convert Documents to Mixed        Month           1.0000   200.00        200.00
                Image/Native Format (1-50 GB)
    12/18/20    Prepare Documents for Production Month            1.0000    25.00         25.00
                (1-50 GB)
    12/22/20    Process collected data and import Month           1.0000   100.00        100.00
                into review database (No Filtering)
                (1-50 GB)
    12/23/20    Prepare Documents for Production Month            1.0000    25.00         25.00
                (1-50 GB)
    12/27/20    Monthly Data Hosting and          Month        259.9570      8.50      2,209.63
                Maintenance
    12/28/20    Monthly Relativity Database Users User/Mo       11.0000     75.00        825.00
                - Alan.Wingfield@troutman.com;
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                John.Thornburgh@skadden.com;
                Kathleen.Knudsen@troutman.com;
                massie.cooper@troutman.com;
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                MMcCarroll@redgravellp.com;
                Thomas.Gentry@skadden.com;
                wright.m@ei.com



                                                 Total Per Unit Fees                  $3,459.63
